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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                      Plaintiff,               )
                                               )                    8:10CR396
       vs.                                     )
                                               )                      ORDER
ARMANDO PEREZ-LOPEZ,                           )
                                               )
                                               )
                      Defendant.


      This matter is before the court on the defendant's Second Motion to Extend Pretrial
Motion Deadline [30]. Upon review of the file, the court finds that an approximate 10-day
extension should be granted.

      IT IS ORDERED that the Second Motion to Extend Pretrial Motion Deadline [30] is
granted, in part, as follows:

       1.    The deadline for filing pretrial motions is extended to December 6, 2010.

        2. In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of
justice will be served by granting this motion and outweigh the interests of the public and
the defendant in a speedy trial. Any additional time arising as a result of the granting of this
motion, that is, the time between November 30, 2010 and December 6, 2010, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act for the reason that counsel require additional time to adequately prepare the case,
taking into consideration due diligence of counsel and the novelty and complexity of this
case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C.
§ 3161(h)(8)(A) & (B)(iv).

       DATED this 24th day of November, 2010.

                                              BY THE COURT:

                                              s/ F.A. Gossett
                                              United States Magistrate Judge
